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    JS 44 (Rev. 08/16)                                                        CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                            DEFENDANTS
    Silverman, Eric K.                                                                                         Wheelock College; Jenkins-Scott, Jackie; Kingston Bay Group; Taylor,
                                                                                                               Katherine S.

        (b) County of Residence ofFirst Listed Plaintiff              _M_i_d_d_le_s_e_x_ _ _ _ _ __              County of Residence of First Listed Defendant                               _S~u_ff~o_lk_ _ __ _ _ __
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

      (C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
    McAllister Ohvarius, 5 Wells Street, Saratoga Springs, NY 12866                                            Hirsch Roberts Weinstein LLP, 24 Federal Street, Boston, MA 02110
    518-633-4 775                                                                                              617-348-4326 for all defendants except Kingston Bay Group
    Pearce Building, 7th floor, West Street, Maidenhead, SL6 1 RL UK

    II. BASIS 0 F JURISD I CTI 0 N (Place an "X" in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or Plaintiff
                                                                                                            (For Diversity Cases Only)                                                     and One Box/or Defendant)
    0 I    U.S. Government                ~3     Federal Question                                                                    PTF             DEF                                                 PTF       DEF
              Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State         ~ I             ~ I              Incorporated or Principal Place     0 4      ~4
                                                                                                                                                                        of Business In This State

    0 2    U.S. Government                0 4    Diversity                                             Citizen of Another State         0 2            0       2      Incorporated and Principal Place              0   5    0 5
              Defendant                            (Indicate Citizenship ofParties in Item Ill)                                                                          of Business In Another State

                                                                                                                                        0              0       3      Foreign Nation                                0   6    0 6

    IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                          Click here for Nature of Suit Code Descriptions
I              CONTRACT                                               TORTS                                FORFEITURE/PENALTY                                BANKRUPTCY                                  OTHERSTATlJTES               I
    0   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY             0 625 Drug Related Seizure             0 422 Appeal 28 USC 158                              0 375 False Claims Act
    0   120 Marine                       0 310Airplane                   0 365 Personal Injury -               of Property 21USC881           0 423 Withdrawal                                     0 376 Qui Tam (31 USC
    0   130 Miller Act                   0 315 Airplane Product                 Product Liability      0 690 Other                                           28 USC 157                                    3729(a))
    0   140 Negotiable Instrument               Liability                0 367 Health Care/                                                                                                        0   400 State Reapportionment
    0   150 Recovery of Overpayment      0 320 Assault, Libel &                 Pharmaceutical                                                  ,.,,, ..... ,,TY Rl~J.ITS                          0   410 Antitrust
             & Enforcement of Judgment          Slander                         Personal Injury                                               0 820 Copyrights                                     0   430 Banks and Banking
    0   151 Medicare Act                 0 330 Federal Employers'               Product Liability                                             0 830 Patent                                         0   450 Commerce
    0   152 Recovery of Defaulted               Liability                0 368 Asbestos Personal                                              0 840 Trademark                                      0   460 Deportation
             Student Loans               0 340 Marine                            Injury Product                                                                                                    0   470 Racketeer Influenced and
             (Excludes Veterans)         0 345 Marine Product                   Liability                            .a~OK                        _... IM.   IA    :"lllo ... I   IKI   Y                  Corrupt Organizations
    0   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY            0 710 Fair Labor Standards             0   861        HIA (1395ff)                          0   480 Consumer Credit
             ofVeteran' s Benefits       0 350 Motor Vehicle             0 370 Other Fraud                       Act                          0   862        Black Lung (923)                      0   490 Cable/Sat TV
    0   160 Stockholders' Suits          0 355 Motor Vehicle             0 371 Truth in Lending        0   720 Labor/Management               0   863        DIWC/DIWW (405(g))                    0   850 Securities/Commodities/
    0   190 Other Contract                     Product Liability         0 380 Other Personal                    Relations                    0   864        SSID Title XVI                                Exchange
    0   195 Contract Product Liability   0 360 Other Personal                   Property Damage        0   740 Railway Labor Act              0   865        RSI (405(g))                          0   890 Other Statutory Actions
    0   I 96 Franchise                         Injury                    0 3 85 Property Damage        0   7 51 Family and Medical                                                                 0   891 Agricultural Acts
                                         0 362 Personal Injury -                Product Liability                Leave Act                                                                         0   893 Environmental Matters
                                               Medical Malpractice                                     0   790 Other Labor Litigation                                                              0   895 Freedom oflnformation
I           REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS           0   791 Employee Retirement                 FEDERAL TAX SUITS                                       Act
    0   210 Land Condemnation            0 440 Other Civil Rights          Habeas Corpus:                       Income Security Act           0 870 Taxes (U.S. Plaintiff                          0   896 Arbitration
    0   220 Foreclosure                  0 441 Voting                    0 463 Alien Detainee                                                       or Defendant)                                  0   899 Administrative Procedure
    0   230 Rent Lease & Ejectrnent      ~ 442 Employment                0 510 Motions to Vacate                                              0 871 IRS- Third Party                                       Act/Review or Appeal of
    0   240 Torts to Land                0 443 Housing/                        Sentence                                                             26 USC 7609                                            Agency Decision
    0   245 Tort Product Liability             Accommodations            0 530 General                                                                                                             0   950 Constitutionality of
    0   290 All Other Real Property      0 445 Amer. w/Disabilities -    0 535 Death Penalty                 IMMIGRATION                                                                                   State Statutes
                                               Employment                  Other:                      0 462 Naturalization Application
                                         0 446 Amer. w/Disabilities -    0 540 Mandamus & Other        0 465 Other Immigration
                                               Other                     0 550 Civil Rights                  Actions
                                         0 448 Education                 0 555 Prison Condition
                                                                         0 560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement

V. ORIGIN (Placean               "X"inOneBoxOnly)
l1i( I Original              0 2 Removed from                0    3     Remanded from             0 4 Reinstated or       0 5 Transferred from                       0 6 Multidistrict                      0 8 Multidistrict
           Proceeding            State Court                            Appellate Court                Reopened                   Another District                                  Litigation -                  Litigation -
                                                                                                                                  (specify)                                         Transfer                      Direct File
                                             Cite the U.S. Civil Statute under which )'OU are filing$Do notcitedurisdictionalstatutes unless diversity):
VI. CAUSE OF ACTION                         1-T_i_tle_V_ll_o_ft_h_e_C_iv_i_IR_i""'-ht_s_A_c_t_19_6_4...._,_42_U_._._C_.~2_0_0..._,_et_._ s e _ q . . . . _ · - - - - - - - - - - - - - - - - -
                                             Brief description of cause:
                                              Discrimination, hostile work environment and retaliation based on race and religion
VII. REQUESTED IN     0                           CHECK IF THIS IS A CLASS ACTION                          DEMAND$                                                CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                            {\~ fl0l4¥1                 5j 7( 1 [>CQ                    JURY DEMAND:         ~Yes 0 No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY
    DATE


    FOR OFFICE USE ONLY

        RECEIPT#                      AMOUNT                                   APPL YING IFP                                 JUDGE                                                  MAG.JUDGE
